                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION - DETROIT

 IN RE:
                                                     CHAPTER 13
 Judy M. Miller,                                     CASE NO. 14-45595-MBM
                            DEBTOR.                  JUDGE MARCI B. MCIVOR
 _______________________________________/

                         ORDER DISMISSING CASE
          FOR FAILURE TO MAKE PAYMENTS UNDER CHAPTER 13 PLAN

       This matter having come on to be heard upon the Trustee’s Motion to Dismiss For
Failure to Make Payments filed pursuant to E.D. Mich. LBR 9014-1, notice having been duly
given and an opportunity for hearing having been provided, and based upon the records of the
Court herein, the dismissal of the case is warranted for failure to make payments and the Court
being otherwise sufficiently advised in the premises;

       IT IS HEREBY ORDERED that the Chapter 13 case of the debtor herein be and the same
hereby is dismissed for the failure to make payments required by the Chapter 13 Plan.

       IT IS FURTHER ORDERED that the Clerk of the Court shall immediately provide
notice of the entry of this Order to all creditors listed in this case, the debtor, the debtor's
attorney, if any, and the Trustee.

       IT IS FURTHER ORDERED that DAVID WM. RUSKIN, Trustee is discharged as
Trustee, and the Trustee and his surety are released from any and all liability on account of the
within proceedings.
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Signed on February 27, 2017




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